Case 19-20347-rlj11 Doc 6 Filed 11/07/19 Entered 11/07/19 10:08:14 Page 1 of 14

Patrick A. Swindell (SBN 19587450}

S wipe. Law Firm

106 SW 7th Ave,

Amarillo, TX 79101

(806) 374-7979

(806) 374-1991 FAX

E-mail: pat@swindellandassociates.com

PROPOSED ATTORNEYS FOR KRIS U HOSPITALITY, LLC
DEBTOR AND DEBTOR IN POSSESSION

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AM ARILLO DIVISION
IN RE: §
§ Case No. 19-20347
KRISU HOSPITALITY, LLC , § (Chapter 11)
§
Debtor. § EXPEDITED HEARING REQUESTED
§

 

MOTION TO USE CASH COLLATERAL
TO THE HONORABLE ROBERT L. JONES, U.S. BANKRUPTCY JUDGE:

Krisu Hospitality, LLC the debtor and debtor in possession (“Krisu” or the “Debtor”, file this
Motion to Use Cash Collateral (the “Motion to Use Cash Collateral’) and in support
thereof would show the Court the following.

INTRODUCTION
l. This motion seeks mlerm authonzation to use cash collateral from November 4, 2019
through and until December 15, 2019 and final authorization to use cash collateral from December 15,
2019 through and until February 29, 2020, without prejudice to subsequent extensions.
2. Krisu constructed, and owns and operates, the LaQuinta Inn & Suites Hote! in Pampa,

Texas.

 

MOTION TO USE CASH COLLATERAL — Page 1 {]
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JURISDICTION AND VENUE

3. The Court has jurisdiction over this action pursuant to Rule 4001 of the Federal Rules
of Bankruptcy Procedure and, without lmitation. $§ 105, 361 and 363 and 1101 et seq. of the United
States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the “Code”.

4, Venue action is proper m this Court pursuant to 28 U.S.C. § 1409.

5. The Court may try this action to a conclusion and enter final orders under Stern v.
Marshall, 131 8. Ct. 2594 (U.S. 2011).

FACTUAL BACKGROUND
The identity and background of the Debtor and Debtor in Possession,

6. Krisu constructed, and owns and operates, the LaQumta Inn & Suites Hotel in Parnpa,
Texas.

The Commencement of the Bankruptcy Case.

7. On November 4, 2019, Krisu commenced the above-captioned Chapter !1 case by
filing a vohiniary petition.

8. The factors leading to the commencement of this case include the (1) Ingenng effects of
replacement of the original general contractor and delayed opening of the hotel, (2) changes in the
Choice- W yndham reservations and payment system which interrupted receipts on corporate accounts,
and (3) difficult economic conditions in the rural Texas Panhandle resulting from fluctuations in the
energy industry.

Factual background in support of the relief requested.
9. Krisu requires immediate access to cash collateral m order to pay the expenses of

operating the hotel, mcluding the payment of wages, utilities, and consumables used mm at the hotel

 

MOTION TO USE CASH COLLATERAL — Page 2 [1]
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10, A proposed intermm budget for the period of November 4, 2019 through December 15,
2019 (the “Budget”). See Exhibit 001.

il. Centennial Bank, ("Centennial"), and Panhandle Regional Economic Development
Counsel ("PREDC", and together with Centennial, the “Lender” or collectively the “Lenders”) appear to
be the relevant prepetition lienholder with respect to cash collateral See Exhibit 002.

12, Krisu seeks authority to use cash collateral consistent with the Budget and the
accompanying proposed Interim Order pending a final hearmg and the entry ofa Final Order authorizing
the use of cash collateral. (The Debtor will submit a budget through February 29, 2020 prior to the
hearmg to consider the Final Order).

RELIEF REQUESTED

13. Pursuant to Code §§ 105, 361, and 363 the Debtor respectfully requests an expedited
hearing on this Motion and entry of interim and final orders granting authorization on an interim basis to
use cash collateral from November 7, 2019 through and until December 15, 2019, and final
authorization to use cash collateral from December 15, 2019 through and until February 29, 2020,
without prejudice to subsequent extensions.

14. A proposed form of interim cash collateral order is attached hereto and mcorporated by

reference herem.,

BASIS OF RELIEF

15. Krisu requires immediate access to cash collateral m order to pay the expenses of
operating the hotcl, including the payment of wages, utilities, and consumables used m at the hotel.

16, Use of cash collateral will ensure the continucd, uninterrupted operation of the hotel,

and thus the preservation of the value of the hotel for the benefit of this case and its creditors.

 

MOTION TO USE CASH COLLATERAL — Page 3 [1]
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17. Centennial and PERDC shall be adequately protected in the use of cash collateral by
Krisu by the grantmg of replacement licns against the property of the estate coextensive with the
prepetition liens of the lenders, and with the super priority under Code § 361(2) as set forth in the
proposed Interm Order,

RESERVATION OF RIGHTS

18. Krisu reserves the right to amend and/or supplement this Motion prior to any hearing,
including particularly with respect to the proposed interim budget, Exhibit 001.
NOTICE
19. | _Krisu through the undersigned counsel has provided notice of this Motion to Use Cash
Collateral and the related request for an expedited hearmg to the parties entitled to notice under L.B.R.
9007-1(b) and by clectronic means where availabk.
20, As indicated below, a Certificate of Service separate from ths Motion to Use Cash
Collateral will be filed.
CONCLUSION AND PRAYER
WHEREFORE, Krisu Hospitality, LLC, Debtor and Debtor in Possession, respectiully
requests that an expedited hearmg be held on ths Motion and that the Court
immediately grant the Debtor's interim use of cash collateral according to the budget,
Exhibit 001, and set a fmal hearg to consider the entry of a final cash collateral order
for the period of November 4, 2019 through December 15, 2019 without prejudice to
subsequent extensions. The Debtor further requests such other and further relief to

which the Debtor is entitled at law or in equity.

 

MOTION TO USE CASH COLLATERAL — Page 4 t)
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Dated: November 5, 2019

Respectfully submitted:
SWINDELL LAW FIRM

By:  / Patrick A. Swindell

Patrick A, Swindell

State Bar No. 19587450

106 SW 7th Ave.

Amarillo, TX 79101

(806) 374-7979

(806) 374-1991 FAX

E-mail: pat@swindellandassociates.com

PROPOSED ATTORNEYS FOR KRISU
HOSPITALITY, LLC , DEBTOR AND DEBTOR IN
POSSESSION

CERTIFICATE OF SERVICE

A separate Certificate of Service will be filed.

‘sf Patrick A. Swindell
Patnck A. Swindell

 

MOTION TO USE CAS H COLLATERAL — Page 5 (1)
Case 19-20347-rlj11 Doc 6 Filed 11/07/19 Entered 11/07/19 10:08:14 Page 6 of 14

EXHIBIT 001
[CASH COLLATERAL BUDGET]

 
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EXHIBIT 002

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RUTH R. HUGHS

Debtor Name Search

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DEBTOR NAME: KRISU HOSPITALITY
CITY: [Not Specified]

 

 

 

 

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EXHIBIT 002

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4. COLLATERAL: Tras financing sietanion! cover Ine folkew.4y coltataril

See Exhibit A attached hereto.

 

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EXHIBIT 002

EXHIBIE “4”

UNIFORM COMMERCIAL CODE FINANCLNG STATEMENT

DEBTOR: Krisu Hospitality, DLC, a Texas limited liability company

SECURED PARTY: Centennial Bank, a Texas state banking association
7207 82 Street
Lubbock, Texas 79424

Deseripiion of Collateral:
L. ‘The premises described as:

All of Lot Two (2) of the United Subdivision in the Northwest Quarter (NW/4) af the Southwest
Quarter ($ W/4) of the Southwest Quarter (S W/4) of Section 101, Block 3, J&GN Ry. Co. Survey,
in the City of Pampa, Gray County, Texas, according to the map or plat of said Subdivision on
file in the office of the County Clerk of Gray County, Texas;

together with ali of the easements, mghts af way, privileges, liberties, hereditaments, strips and
gores, sireets, alleys, passages, ways, walers, watercourses, rivhts and appurtenances thereunto
belonging or appertaining, and all of the esiate, right, lide, interest, claim or demand whatsoever
of Debtor therein and in the streets and ways adjacent thereto, either in law or in equity
(collectively, the "Land"); () all buildings, structures, and other improvements now or hereafter
situaled or to be situated on the Land (the "Improvements"; and (H) all right, title and interest of
Debtor in and to (1) all streets, roads, alleys, easements, rights-of-way, licenses, rights of ingress
and egress, vehicle parking righis and public places, existing of proposed, abutting, adjacent, used
in connection with or pertaining to the Land or the Improvements; (2) any strips or gores between
or among the Land and abutting or adjacent properties; end (3) all water and water rights, timher,
crops and mineral interests on or pertaining to the Land (the Land, Improvements and other
Tights, tiles and interests referred to in this clause fa) sometimes collectively called the
“Pre s"}; (b) all fixtures, equipment, systems, machinery, furmiture, furnishings, appliances,
inventory, goods, building and construction materials, supplies, and articies of personal property,
of every kind and character, naw owned or hereafter acquired by Debtor, which are now or
hereatter attached to or situated ja, on or about the Land cr the Improvements, or used in ot useful
to the complele and proper planning, development, use, occupancy or aperation thereof, or
acquired (whether delivered to the Land or stored elsewhere} for use or installation in or on the
Land or the [mprovements, and all renewals and replacements of, substitutions for and additions
to the foregoing (the properties referred to in this clause (b) sometimes collectively called the
“Accessories”, all of which are hereby dectared to be permanent accessions ta the Land); (c) all
(i} of Debtor's assignable rights in and to all plans and specifications for the Improvements, and
any and ail changes thereto; (1) Debtor's rights, but not liability for any breach by Debtor, under
all commitments (including any commitment for financing to pay any of the Indebtedness (as
defined below), insurance policies, architectural, engineering, construction, management, leasing,
and other contracts, including any property management agreement (when signed} and any
post-closing tights under the contact of contracts pursuant to which Debtor acquired the Land,
and general intangibles {including but not limited to trademarks, trade names and symbols)
related to the Premises or the Accessories or the design, construction, use or operation thereof,

 

 

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(3)
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EXHIBIT 002

 

(iii) deposits (including Debtor's rights in tenants’ security deposits, deposits with respect to
utility services to the Premises, and any deposits of reserves under any Loan Insirument for taxes,
insurance or otherwise), money, accounts, instruments, documents, notes and chattel paper arising
from or by virtue of any transactions related tu the Premises or the Accessories together with any
and ail tax and/or insurance escraw accounts and/or reserve accounis required under the
provisions of any of the Loan Instruments; (iv) permits, licenses, franchises, certificates,
cerlificates of occupancy, development rights, commitments and rights for utilities, wells, septic
systems and other rights and privileges obtained in connection with the Premises or the
Accessories; (v) leases, rents, royalties, bonuses, issues, profits, revenues and other benefits af the
Premises and the Accessories: (vi) oil, gas and other hydrocarbons and other minerals produced
from or allocated to the Land and all products processed or obtained therefrom, and the proceeds
thereof; (vii) engineering, accounting, title, legal, and other technical or business data concerning
the Mortgaged Property (as defined below} whieh are in the possession Gf Deblor or in which
Debtor can otherwise grant a security interest; and (viii) development fees, sales commissions and
leasing commissions; and (d) all (7) proceeds of or arising from the properties, rights, titles and
interests referred ta above, including but not limited to proceeds of any sale, lease or other
disposition thereof, proceeds of each policy of insurance relating thereto (including premium
refunds), praceeds of the taking thereof ar of any rights appurtenant thereto, including change of
grade of streets, curb cuts or other rights of access, by eminent domain or transfer in lieu thereof
for public or quasi-public use under any Law, and proceeds arising out af any damage thereto;
and (i) other interests af every kind and character which Debtor now has or hereafter acquires in,
to or for the benefit of the properties, rights, titles and interests referred tu above and all property
used or useful in connection therewith, including but nat limited to tights af ingress and egress
and remainders, reversions and reversionary rights or interests; and if the estate of Debtor in any
of the property referred to above is a leasehold estate (the "Leaschold Estate"), this conveyance
shall iaclude, and the lien created hereby shall encumber and extend to, all other or additional
ttle, estates, interests or rights which are now owned or may hereafter be acquired by Debtor in
or to the property demised under the lease creating the leasehold estate. The above described
property is collectively referred to herein as the “Miorteaged Property.” Any and ail proceeds of
every kind or character now owned or hereafter arising from or by virtue of any of the Property
herein described, and all replacements, substitutions, cr accessions to any of the above.

Dated: July 31, 2014.

Centennial Bank, a Tex

  
 

stage banking association

By:

 

Christopher W. Coke, Senior Vice
President

 

[3]
Case 19-20347-rlj11 Doc 6 Filed 11/07/19 Entered 11/07/19 10:08:14 Page 12 of 14

EXHIBIT 002

 

UGC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS

A. NAME & PHONE OF CONTACT AT FILER (optional)
Centennial Bank 806-775-8138

iB. -MAIL CONTACT AT FILER foptional)

 

 

 

 

 

 

  
  

 

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EXHIBIT 002

UCC FINANCING STATEMENT
FOLLOW INSTRUC PIONS

A. NAME & PHONE OF CONTACT AT FILER foptional)
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B. E-MAH. CONTACT AT FILER foptional)

 

 

 

iC. SEND ACKNOWLEDGMENT TO: (Name and Address}

 

 

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EXHIBIT 002

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